                                IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                         SOUTHERN DIVISION
                                           No. 7:23-cv-00803

IN RE: CAMP LEJEUNE
WATER LITIGATION

__________________________________/

THIS DOCUMENT RELATES TO:                                             JURY TRIAL DEMANDED

  Carthinal           C              Dawson

Plaintiff First           Middle    Last          Suffix




                                           SHORT-FORM COMPLAINT

              The Plaintiff named below, or Plaintiff’s representative, files this Short Form Complaint

against Defendant United States of America under the Camp Lejeune Justice Act of 2022

(“CLJA”). Pub. L. No. 117-168, § 804, 136 Stat. 1802, 1802–04 (2022). Plaintiff or Plaintiff’s

representative incorporates by reference the allegations contained in the Master Complaint (DE

25) on file in the case styled In Re: Camp Lejeune Water Litigation, Case No. 7:23-cv-897, in the

United States District Court for the Eastern District of North Carolina. Plaintiff or Plaintiff’s

representative files this Short-Form Complaint as permitted by Case Management Order No. 2.

              Plaintiff or Plaintiff’s representative alleges as follows:

                                              I. INSTRUCTIONS

  1. On THIS FORM, are you asserting a claim for           This form may only be used to file a complaint for
  injuries to YOU or to SOMEONE ELSE you legally           ONE PERSON’S injuries. If you intend to bring
  represent?                                               claims for multiple individuals’ injuries—for example,
  ☒ To me                                                  a claim for yourself and one for a deceased spouse—
  ☐ Someone else                                           you must file ONE FORM FOR EACH INJURED
                                                           PERSON.




                  Case 7:23-cv-00803-BO-RN Document 17 Filed 11/01/23 Page 1 of 6
                                              -1-
                                   II. PLAINTIFF INFORMATION

If you checked “To me” in Box 1, YOU are the Plaintiff. Complete this section with information about YOU.

If you checked “Someone else” in Box 1, THAT PERSON is the Plaintiff. Complete this section with
information about THAT PERSON.

 2. First name:              3. Middle name:               4. Last name:                   5. Suffix:
 Carthinal                                                 Dawson
 6. Sex:                                                   7. Is the Plaintiff deceased?
 ☐ Male                                                    ☐ Yes
 ☒ Female                                                  ☒ No
 ☐ Other
                                                           If you checked “To me” in Box 1, check “No” here.
 Skip (8) and (9) if you checked “Yes” in Box 7.
 8. Residence city:                                        9. Residence state:
 Homewood                                                  IL
 Skip (10), (11), and (12) if you checked “No” in Box 7.
 10. Date of Plaintiff’s     11. Plaintiff’s residence     12. Was the Plaintiff’s death caused by an injury
 death:                      state at the time of their    that resulted from their exposure to contaminated
                             death:                        water at Camp Lejeune?
                                                           ☐ Yes
                                                           ☐ No


                                  III. EXPOSURE INFORMATION

If you checked “To me” in Box 1, complete this section with information about YOU.

If you checked “Someone else” in Box 1, complete this section with information about THAT PERSON.

 13. Plaintiff’s first month of exposure to the water      14. Plaintiff’s last month of exposure to the water at
 at Camp Lejeune: February 1983                            Camp Lejeune: October 1985

 15. Estimated total months of exposure: 33                16. Plaintiff’s status at the time(s) of exposure
                                                           (please check all that apply):
                                                           ☐ Member of the Armed Services
                                                           ☒ Civilian (includes in utero exposure)
 17. If you checked Civilian in Box 16, check all that     18. Did Plaintiff at any time live or work in any of
 describe the Plaintiff at the time(s) of exposure:        the following areas? Check all that apply.
 ☒ Civilian Military Dependent                             ☐ Berkeley Manor
 ☐ Civilian Employee of Private Company                    ☐ Hadnot Point
 ☐ Civil Service Employee                                  ☐ Hospital Point
 ☐ In Utero/Not Yet Born                                   ☐ Knox Trailer Park
 ☐ Other                                                   ☐ Mainside Barracks
                                                           ☐ Midway Park
                                                           ☐ Paradise Point
                                                           ☒ Tarawa Terrace
                                                           ☐ None of the above
                                                           ☐ Unknown




         Case 7:23-cv-00803-BO-RN Document 17 Filed 11/01/23 Page 2 of 6
                                     -2-
                                     IV. INJURY INFORMATION

If you checked “To me” in Box 1, complete this section with information about YOU.

If you checked “Someone else” in Box 1, complete this section with information about THAT PERSON.

19. Identify the illnesses or conditions the Plaintiff suffered as a result of exposure to contaminated water at
Camp Lejeune.

 Injury                                                                            Approximate date of onset
 ☐ Adverse birth outcomes (Plaintiff is the PARENT of an individual who
 died in utero or was stillborn or born prematurely)
 ☐ ALS (Lou Gehrig’s Disease)
 ☐ Aplastic anemia or myelodysplastic syndrome
 ☐ Bile duct cancer
 ☐ Bladder cancer
 ☐ Brain / central nervous system cancer
 ☐ Breast cancer
 ☐ Cardiac birth defects (Plaintiff was BORN WITH the defects)
 ☒ Cervical cancer                                                                 2018
 ☐ Colorectal cancer
 ☐ Esophageal cancer
 ☐ Gallbladder cancer
 ☐ Hepatic steatosis (Fatty Liver Disease)
 ☐ Hypersensitivity skin disorder
 ☐ Infertility
 ☐ Intestinal cancer
 ☐ Kidney cancer
 ☐ Non-cancer kidney disease
 ☐ Leukemia
 ☐ Liver cancer
 ☒ Lung cancer                                                                     2019
 ☐ Mutliple myeloma
 ☐ Neurobehavioral effects
 ☐ Non-cardiac birth defects (Plaintiff was BORN WITH the defects)
 ☐ Non-Hodgkin’s Lymphoma
 ☐ Ovarian cancer
 ☐ Pancreatic cancer
 ☐ Parkinson’s disease
 ☐ Prostate cancer
 ☐ Sinus cancer
 ☐ Soft tissue cancer
 ☐ Systemic sclerosis / scleroderma
 ☐ Thyroid cancer




         Case 7:23-cv-00803-BO-RN Document 17 Filed 11/01/23 Page 3 of 6
                                     -3-
 The Camp Lejeune Justice Act does not specify a list of covered conditions.

 If the Plaintiff suffers or previously suffered from a condition not listed above, and the Plaintiff alleges that the
 condition was caused by exposure to the water at Camp Lejeune as required under the Act, please check “Other”
 and describe the condition on the following lines.

 Note in particular that the Board of Veterans’ Appeals of the U.S. Department of Veterans Affairs (the “VA”)
 has approved benefits in connection with Camp Lejeune for conditions beyond those listed above.
 ☐ Other:                                                                                Approximate date of onset
 ________________________________________________________________                        _____________________

 ________________________________________________________________                        _____________________

 ________________________________________________________________                        _____________________

 ________________________________________________________________                        _____________________



                                  V. REPRESENTATIVE INFORMATION

If you checked “To me” in Box 1, SKIP THIS SECTION and proceed to section VI. (“Exhaustion”).

If you checked “Someone else” in Box 1, complete this section with information about YOU.

 20. Representative First      21. Representative            22. Representative Last       23. Representative
 Name:                         Middle Name:                  Name:                         Suffix:


 24. Residence City:                                         25. Residence State:

                                                             ☐ Outside of the U.S.

 26. Representative Sex:
 ☐ Male
 ☐ Female
 ☐ Other

 27. What is your familial relationship to the Plaintiff?
 ☐ They are/were my spouse.
 ☐ They are/were my parent.
 ☐ They are/were my child.
 ☐ They are/were my sibling.
 ☐ Other familial relationship: They are/were my _____________
 ☐ No familial relationship.
 Derivative claim
 28. Did the Plaintiff’s death or injury cause the Plaintiff’s spouse, children, or parents mental anguish, loss
 of financial support, loss of consortium, or any other economic or non-economic harm for which you
 intend to seek recovery?
 ☐ Yes
 ☐ No




         Case 7:23-cv-00803-BO-RN Document 17 Filed 11/01/23 Page 4 of 6
                                     -4-
                                           VI. EXHAUSTION

 29. On what date was the administrative claim for      30. What is the DON Claim Number for the
 this Plaintiff filed with the Department of the Navy   administrative claim?
 (DON)?
                                                        CLS23-010443
 9/30/2022                                              ☐ DON has not yet assigned a Claim Number




                                      VII. CLAIM FOR RELIEF

       Plaintiff respectfully requests that pursuant to subsection 804(b) of the CLJA the Court

enter judgment against the Defendant and award damages and all other appropriate relief for the

harm to Plaintiff that was caused by exposure to the water at Camp Lejeune.



                                    VIII. JURY TRIAL DEMAND

       Plaintiff demands a trial by jury of all issues so triable pursuant to Rule 38 of the Federal

Rules of Civil Procedure and subsection 804(d) of the CLJA.




        Case 7:23-cv-00803-BO-RN Document 17 Filed 11/01/23 Page 5 of 6
                                    -5-
Dated: November 1, 2023


                                       /s/ Zina Bash
                                       Zina Bash
                                       KELLER POSTMAN LLC
                                       111 Congress Avenue, Suite 500
                                       Austin, TX 78701
                                       (512) 620-8375
                                       zina.bash@kellerpostman.com
                                       Texas State Bar No. 24067505
                                       Admitted Pro Hac Vice
                                       Lead Counsel for Plaintiff


                                       Frederick Messner
                                       KELLER POSTMAN LLC
                                       1100 Vermont Ave NW, 12th Floor
                                       Washington, D.C. 20005
                                       (202) 918-1870
                                       Fred.messner@kellerpostman.com
                                       North Carolina Bar No. 60309
                                       Lead Counsel for Plaintiff


                                       /s/ W. Michael Dowling
                                       W. Michael Dowling
                                       THE DOWLING FIRM PLLC
                                       Post Office Box 27843
                                       Raleigh, North Carolina 27611
                                       Telephone: (919) 529-3351
                                       Fax: (919) 529-3351
                                       mike@dowlingfirm.com
                                       North Carolina State Bar No. 42790
                                       LR 83.1(d) Counsel for Plaintiff (in association
                                       with Keller Postman LLC)




       Case 7:23-cv-00803-BO-RN Document 17 Filed 11/01/23 Page 6 of 6
                                   -6-
